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                                 IN THE UNITED STATES BANUPTCY COURT

                                            FOR THE DISTRICT OF DELAWAR

In re:                                                                 )              Chapter 11
                                                                       )
W. R. GRACE & CO., et al., i                                           )              Case No. 01-1139 (JK)
                                                                       )           Jointly Administered
                                  Debtors.                             )



                                                  CERTIFICATE OF SERVICE

                       I, Timothy P. Cairns, hereby certify that on the 15th day of                       May 2008, I caused a

tre and correct copy of the following document to be served on the individuals on the attached

service list in the maner indicated herein:

                       NOTICE OF QUARTERLY VERIFIED FEE APPLICATION OF
                       CASNER & EDWARS, LLP FOR COMPENSATION FOR
                       SERVICES AND REIMBURSEMENT OF EXPENSES AS SPECIAL
                       LITIGATION COUNSEL TO W.R. GRACE & CO., ET AL., FOR THE
                       TWENTY-EIGHTH INTERIM PERIOD FROM JANUARY 1, 2008
                       THROUGH MARCH 31, 2008.

                                                                                  ~wJ~
                                                                      Timothy P. Cairns (Bar No. 4228)


i The Debtors consist of the foIlowing 62 entities: W. R. Grace & Co. (fJa Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (fJa
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fJa Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (fJa Grace Cocoa Limited Parers I, Inc.), G C Management, Inc. (fJa Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinar Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (fJa Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Taron Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (fJa GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (fJa Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (fJa Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fJa British Nursing Association,
Inc.), Remedium Group, Inc. (fJa Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (fJa Cross
Countr Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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